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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No.: 1:18-cv-02243-LTB

WILLIAM NORRIS,

       Plaintiff,

                        v.

UNIVERSITY OF COLORADO, BOULDER (through its Board, the Regents of the University
of Colorado, a body corporate) and PHILIP P. DISTEFANO,

      Defendants.
______________________________________________________________________________

     PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE
               COMPLAINT AND JURY DEMAND PURSUANT TO
                    F.R.C.P. 12(b)(6) AND F.R.C.P. 12(b)(1)


       Plaintiff William Norris (“Plaintiff” or “Mr. Norris”), by and through his undersigned

attorneys, submits this memorandum of law in opposition to University of Colorado, Boulder’s

(“CU Boulder” or the “University”) and Philip P. DiStefano’s (“DiStefano”) (collectively referred

to herein as “Defendants”) motion to dismiss the Complaint. As and for his opposition, Plaintiff

states the following:

                                      INTRODUCTION

       On August 30, 2018, Plaintiff filed the Complaint, alleging (i) a Title IX erroneous outcome

claim against CU Boulder; (ii) a 42 U.S.C. § 1983 claim against Chancellor DiStefano seeking

injunctive relief for the University’s violation of Plaintiff’s right to due process in the sexual

misconduct proceedings against him; and (iii) state law breach of contract. On November 6, 2018,

Defendants moved to dismiss the Complaint in its entirety. As fully set forth below, the motion

should be denied.
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       Plaintiff has alleged a plausible Title IX erroneous outcome claim against CU Boulder.

Plaintiff has alleged numerous flaws in the process against him, including inter alia having no

right to cross-examination, that cast articulable doubt on the outcome of the proceedings. The

University’s erroneous finding resulted in the unwarranted and severe sanction of an 18-month

suspension for a stale allegation that Plaintiff touched Jane Roe’s genitals without her consent—

there was no evidence supporting Roe’s claim. Defendants incorrectly assert that Plaintiff admitted

that he engaged in nonconsensual sexual contact with Roe, but this argument fails in the face of

the Complaint’s clear allegations to the contrary, which the Court must accept as true at this stage.

Defendants further assert that Plaintiff merely disagrees with the outcome and such disagreement

is not actionable. However, the available evidence substantially favored Plaintiff’s side yet the

investigators decided in favor of Roe, raising the inference that the Title IX investigators were

motivated by a bias against Plaintiff as the male accused.

       Plaintiff has also plausibly alleged that the finding and sanction in his case were motivated

by gender bias. Plaintiff alleges: i) that CU Boulder was under immense public pressure to address

female students’ claims of sexual assault, including a federal investigation; ii) the lead investigator

in Plaintiff’s case had an extensive career as an advocate for female victims of domestic violence

and sexual assault; iii) the individual responsible for determining Plaintiff’s sanction was also an

advocate for women, the public voice of the University’s commitment to protecting female

students and responsible for reporting sexual misconduct statistics to the Chancellor. As further

detailed infra, said allegations are more than sufficient at the pleading stage to permit Plaintiff’s

case to move forward to discovery.

       It is unclear why Defendants have moved to dismiss Plaintiff’s due process claim against

Chancellor DiStefano, when they are currently litigating a similar due process claim before Judge



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Martinez which previously survived a motion to dismiss. Regardless, Plaintiff has alleged

“exceptionally robust” interests in continuing his education and in his reputation, which outweigh

any burden CU Boulder might have faced in providing him a hearing and the right to cross-

examination, rights which are afforded to students accused of far less serious offenses. Plaintiff

has also alleged bias in the investigation and sanctioning process. Plaintiff has further alleged that

the University’s withholding of the notice of investigation and restriction of Plaintiff’s access to

the investigation file deprived him of a meaningful opportunity to be heard.

       The University has asserted Eleventh Amendment immunity with respect to Plaintiff’s state

law breach of contract claim. Should the Court agree that the University is immune from federal

suit, Plaintiff respectfully requests that the Court dismiss this claim without prejudice.

                        THE ALLEGATIONS OF THE COMPLAINT

A.     Plaintiff’s Background

       While attending CU Boulder, and until Jane Roe (“Roe’) falsely accused him of sexual

misconduct, Mr. Norris had an unblemished disciplinary and academic record. He was enrolled in

Air Force ROTC, maintained a 3.5 GPA as a major in mechanical engineering, and was an

exemplary ROTC cadet. Compl. ¶¶ 2, 38-39. Upon graduation, Mr. Norris was committed to

joining the United States Air Force as a Lieutenant and pursuing a military career. Id. ¶ 38. His

aspirations were sidelined when CU Boulder found him responsible for non-consensual sexual

contact (for allegedly touching Jane Roe’s genitals without her consent) and suspended him for

eighteen (18) months—when he was just 6 credits shy of graduating. Id. ¶¶ 2, 119, 126. The

University also placed conditions on his return to school and, thus, there were no guarantees that

Mr. Norris would be permitted to complete his degree. Id. ¶ 126.




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       Mr. Norris faced criminal prosecution for Roe’s allegations against him and, on October

19, 2017, a jury of his peers found him not guilty of all charges. Id. ¶¶ 5, 57 & n. 8. Mr. Norris’

case is an exemplar of the injustice that occurs as a result of universities applying a low burden of

proof, the preponderance of the evidence standard, in sexual misconduct cases. Under this

scenario, an individual may be found not guilty, and acquitted of all charges in a criminal case but

may still have his future destroyed. Id. ¶ 7. In September 2017, the U.S. Department of Education

recognized this problem and issued new guidance permitting colleges and universities to apply the

“clear and convincing evidence” standard in sexual misconduct proceedings. Id. ¶ 7 & n. 2.

B.     Mr. Norris’ Relationship With Jane Roe

       Mr. Norris and Roe became friends during the 2013-2014 academic year, when Mr. Norris

was a sophomore and Roe a first-year student. Id. ¶ 51. There was a romantic component to their

friendship and the two would frequently “make out.” Id. ¶ 53. Roe told people in their circle of

friends that she was in love with Mr. Norris. Id. However, Mr. Norris was dating someone else, a

woman who was friends with Roe. Id. ¶ 55. In July 2015, Roe stopped speaking to Mr. Norris and

his girlfriend. This occurred after Mr. Norris and Roe had briefly engaged in consensual sexual

intercourse, which he interrupted because he felt guilty about being unfaithful to his girlfriend. Id.

¶ 54-55.

C.     Roe’s Allegations Against Plaintiff

       On or about January 20, 2016, Roe filed a report with the Boulder Police Department

(“BPD) alleging that Plaintiff sexually assaulted Roe when they engaged in sexual intercourse in

July 2015 and that—nearly two years prior—in Spring 2014, Plaintiff touched Roe’s genitals

without her consent. Id. ¶ 57. The July 2015 sexual assault allegation is not at issue in this action

because CU Boulder found Plaintiff not responsible for this act. Id. ¶ 69.



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       With respect to the Spring 2014 allegation, Plaintiff and Roe attended a party at his off-

campus resident where both were drinking a fair amount and were tipsy. Id. ¶ 52. After the party,

the two went to his bedroom where they were kissing and moved to his bed, where they began to

playfully wrestle. Id. During the play wrestling, Plaintiff pinned Roe’s arms above her head and

moved his hand down her body towards her genitals when Roe said “no.” Id. Plaintiff respected

Roe’s wishes and stopped the interaction. Id. The two talked and kissed for the rest of the night

until Jane Roe left in the early morning hours. Id. Roe and Plaintiff continued their friendship, and

their physical relationship, until July 2015. Id. ¶¶ 53-56.

       At no point was Roe able to provide a clear account of what happened with Plaintiff in

Spring 2014. Id. ¶ 102. Her varying accounts to BPD and CU Boulder’s Title IX investigators did

not demonstrate by a preponderance of the evidence that any genital contact occurred, which was

necessary to support a finding of non-consensual sexual contact. Id. ¶¶ 41, 103. CU Boulder’s

investigators asked her only to respond to Plaintiff’s account rather than telling them her account

of what happened. Id. ¶ 102. There were no eyewitnesses and the investigators failed to interview

a purported outcry witness “JG.” Id. ¶ 103.

       The witnesses that were interviewed gave accounts that were inconsistent with Roe’s story.

Id. ¶ 104. Roe was permitted to explain these away under the guise of her friends being protective

of her. Id. One of Roe’s witnesses later apologized to Mr. Norris for her involvement in the case

and admitted that she overreacted. This was around the time that CU Boulder suspended him. Id.

¶ 104 & n. 13. Prior to any witnesses being interviewed, Roe held a meeting with all of her and

Plaintiff’s mutual friends to tell them her account of what allegedly happened. Id. ¶ 71.

D.     CU Boulder’s Campus Climate




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           In May 2013, a female student filed a complaint with the U.S. Department of Education’s

Office for Civil Rights (“OCR”) claiming that CU Boulder violated Title IX by failing to issue a

severe enough sanction against the male respondent in her case, who was found responsible for

sexual assault. Id. ¶ 22. The student publicly announced that in filing the complaint she was forced

to do the University’s “dirty work.” Id. Shortly thereafter, OCR opened an investigation into the

complaint that carried on until September 2017, or fifteen (15) months after Plaintiff was

suspended. Id. On May 1, 2014, the Department of Education issued a press release naming CU

Boulder as one of fifty-five (55) colleges and universities under investigation. Id. ¶ 25. The press

release noted that “Schools that violate the law and refuse to address the problems identified by

OCR can lose federal funding or be referred to the Department of Justice for further action.” Id.

On the same day, the CU Independent published an article which noted that CU Boulder had come

under fire for its handling of sexual assault complaints multiple times in the prior year. Id. ¶ 27.

           On May 10, 2014, local press reported that the University had settled the case with the

female OCR complainant, who publicly declared that the University needed to gear its policies to

“cater towards survivor needs.” Id. ¶ 28. Shortly thereafter, Chancellor DiStefano hired Valerie

Simons (“Simons”) to serve as Title IX Coordinator. Id. ¶ 30. DiStefano publicly lauded Simon’s

reputation as a DOJ advocate and her work with female university students. Id.

           In January 2015, CU Boulder held a sexual misconduct “town hall” focusing on the It’s On

Us campaign, known for its focus on female victims of sexual assault. It’s On Us also runs media

campaigns which portray men as rapists. Id. ¶ 34 & n. 6. The focus of the town hall, in which BPD

participated, was to confirm that the University was putting survivors “back in the driver’s seat”

and “working hard to make the process as survivor-focused as possible.” Id.1



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    Notably, referring to sexual assault complainants as “survivors” presumes that a sexual assault has occurred.

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        In February 2016, weeks after Roe had filed her complaint against Mr. Norris, the CU

Independent published an opinion piece which criticized CU Boulder for administering lax

punishments in sexual misconduct cases and fostering a “rape culture…which…teaches young

men that drunken hookups are a space of free reign where anything goes.” Id. ¶ 35.

        On April 8, 2016, then Vice President Joe Biden delivered a speech to the CU Boulder

campus as part of the “It’s On Us Week of Action.” Id. ¶ 36. Ahead of the visit, DiStefano and

Simons appeared in an It’s On Us video in which DiStefano noted that the University shared the

same goals as the Vice President. Id. When Biden gave his speech, he focused on protecting

women and asked men on campus to “Look in the mirror and ask, are you being the man you think

you are?” Id. ¶ 37. CU Boulder’s Office of Government Relations wrote about the visit in its

Government Relations newsletter. Id. The University’s alumni association described the visit as a

“test of character.” Id. Biden’s visit occurred in the midst of the University’s investigation of Roe’s

allegations against Mr. Norris. The Title IX investigators, Lauren Hasselbacher (“Hasselbacher”)

and Tessa Walker (“Walker”) delayed Mr. Norris’ access to the investigation file because the

Office of Institutional Equity and Compliance (“OIEC”) was preparing for Biden’s visit. Id. ¶ 85.

E.      The Sexual Misconduct Process

        Under the sexual misconduct policy applied in Plaintiff’s case he had no right to a hearing.

Rather, the University followed an “investigative model.” Id. ¶ 47(x). There was also no

mechanism through which Plaintiff could cross-examine Roe or ask questions of the witnesses. Id.

¶ 47 (xii). CU Boulder students accused of far less serious offenses had the right to a hearing and

a method by which they could submit written questions to be asked of the complainant and/or any

witnesses. Id. ¶ 47(x), (xii).




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       The University’s investigators, Hasselbacher and Walker, were tasked with determining

whether Plaintiff was responsible for sexual misconduct. Id. ¶¶ 59-61. Hasselbacher, the lead

investigator, had a conflict of interest because her job also required her to ensure that CU Boulder’s

policies and procedures complied with Title IX. Id. ¶ 59. Hasselbacher had a background in

Women’s Studies, extensive experience as an advocate for women who have experienced domestic

violence and sexual assault, and also worked as a civil rights lawyer prior to joining CU Boulder.

Id. Walker lacked the necessary experience to serve as a Title IX investigator. Id. ¶ 60. During the

investigation, Hasselbacher and Walker worked closely with BPD and acted more favorably to

Jane Roe than they did to Plaintiff. Id. ¶¶ 62-66, 70, 76-88, 90-95, 100-113. Ultimately,

Hasselbacher and Walker found Plaintiff responsible for nonconsensual sexual contact because

they found Roe to be more credible than Plaintiff, despite glaring inconsistencies in her varying

accounts of what happened. Id. ¶¶ 103-104. Relying on a BPD interview in which the questioning

officer gave Plaintiff a false narrative of what Roe had alleged, the investigators misread Plaintiff’s

statements to them as inconsistent with what he told BPD. Id. ¶¶ 105-113. The erroneous finding

of responsibility—determined while the OCR investigation was pending and after Vice President

Biden’s visit—was grounded in the pressure that Hasselbacher and Walker were under to maintain

CU Boulder’s public commitment to protecting female victims of sexual assault and to appease

Jane Roe, whom they knew had filed a criminal complaint against Plaintiff. Id. ¶¶ 113-116.

Hasselbacher, a women’s advocate, also viewed the facts through a gender-biased lens. Id. ¶ 116.

       On June 13, 2016 Hasselbacher and Walker emailed a Notice of Finding to Plaintiff finding

him responsible for non-consensual sexual contact. Id. ¶ 119. The Finding was grounded in

numerous misstatements of fact. Id. ¶¶ 117-120. The Notice stated that the findings had been

“reviewed and approved by a review committee.” Id. At no point was Plaintiff notified as to the



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composition of the review committee, he had no right to appear before the committee or make any

submissions to the committee. Nor could he challenge the members on conflict of interest grounds.

Id. ¶ 47 (xiv).

        Simons, at the time the Title IX Coordinator and OIEC Director, had the sole responsibility

of determining Plaintiff’s sanction. Id. ¶¶ 121-123. Simons had a conflict of interest because her

responsibilities included ensuring CU Boulder’s compliance with Title IX and working with OCR

during the course of its investigation. Id. ¶¶ 123-124. She was the University’s public voice against

sexual assault and was responsible for compiling and reporting statistics concerning sexual

misconduct complaints, including sanctions, to Chancellor DiStefano. Id. Prior to joining CU

Boulder, Simons was an advocate for female students. Id. ¶ 125. She publicly supported women’s

advocacy groups, as well as the It’s On Us campaign, during the investigation of Roe’s allegations.

Id. ¶¶ 89, 125.

        As a result of these biases, Simons issued the unwarranted and unduly severe sanction

which: i) suspended Plaintiff for 18 months; ii) banned Plaintiff from campus; iii) required him to

undergo “an evaluation and treatment from a licensed sex offender provider;” iv) required proof

of any court-ordered or other sanctions; v) required that any application for readmission be

personally approved by Simons; and vi) contained a no-contact order prohibiting contact with Roe.

Id. ¶ 126.

        The Notice of Sanction provided to Plaintiff made no reference to any right to appeal. Id.

¶ 121. Plaintiff submitted an appeal under the 2013-2014 Student Conduct Code, which should

have been applied in his case. Id. ¶ 127. Rather than treating Plaintiff’s appeal as just that, Simons

applied 2016-2017 OIEC procedures to conduct her own sham administrative review, through

which Simons upheld the sanction. Id. ¶¶ 132-140. Simons had the option of delegating the review



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 to a designee but did not choose this option. Id. ¶ 49. Unsurprisingly, Simons upheld her own prior

 determination that the sanction was appropriate. Id. ¶¶ 132-140. Several of Simons’ statements

 concerning her administrative review were indicative of bias. Id. ¶ 133.

                                             ARGUMENT

 I.      The Legal Standard Governing Motions to Dismiss

         As stated in this Court’s opinion in Mondragon v. Adams County School District No. 14,

 No. 1:16-cv-01745, 2017 WL 733317 at *4 (D. Colo. Feb. 24, 2017):

      Under Rule 12(b)(6), ‘[d]ismissal is appropriate only if the complaint, viewed in the
      light most favorable to plaintiff, lacks enough facts to state a claim to relief that is
      plausible on its face.’ United States ex rel. Conner v. Salina Regional Health Center,
      543 F.3d 1211, 1217 (10th Cir. 2008) (quotations marks omitted). A claim is plausible
      on its face ‘when the plaintiff pleads factual content that enables the court to draw the
      reasonable inference that the defendant is liable for the misconduct alleged.’ Ashcroft
      v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S.
      544, 556 (2007)). ‘The plausibility standard is not akin to a ‘probability requirement,’
      but it asks for more than a sheer possibility that a defendant has acted unlawfully.’ Id.

      Although plaintiffs need not provide ‘detailed factual allegations’ to survive a motion
      to dismiss, they must provide more than ‘labels and conclusions’ or ‘a formulaic
      recitation of the elements of a cause of action.’ Twombly, 550 U.S. at 555; see
      also Ashcroft, 556 U.S. at 678 (explaining that a complaint will not suffice if it offers
      ‘naked assertions devoid of further factual enhancement’ (quotations and alterations
      omitted)). Furthermore, conclusory allegations are ‘not entitled to be assumed
      true.’ Ashcroft, 556 U.S. at 679.

      A court may not dismiss a complaint merely because it appears unlikely or improbable
      that a plaintiff can prove the facts alleged or ultimately prevail on the merits. Twombly,
      550 U.S. at 556. Instead, a court must ask whether the facts alleged raise a reasonable
      expectation that discovery will reveal evidence of the necessary elements. Id. If, in
      view of the facts alleged, it can be reasonably conceived that the plaintiff could
      establish a case that would entitle him to relief, the motion to dismiss should not be
      granted. Id. at 563 n.8.

      Granting a motion to dismiss is a ‘harsh remedy’ that should be ‘cautiously studied’ to
      ‘effectuate the liberal rules of pleading’ and ‘protect the interests of justice.’ Idias v.
      City & Cnty. of Denver, 1178 (10th Cir. 2009).

 As detailed below, Plaintiff has alleged a plausible Title IX erroneous outcome claim against CU

 Boulder and a plausible claim against DiStefano, pursuant to 42 U.S.C. § 1983, for violation of

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 Plaintiff’s right to due process in the university disciplinary proceedings against him. Plaintiff has

 also alleged a plausible state law breach of contract claim against CU Boulder. However, there is

 a question as to whether the Court has subject matter jurisdiction over the breach of contract claim.

 Should the Court find that it lacks subject matter jurisdiction over this claim, Plaintiff respectfully

 requests that the Court dismiss this claim without prejudice.

 II.    Plaintiff Has Alleged a Plausible Title IX Erroneous Outcome Claim

        In order to establish a violation of Title IX under an “erroneous outcome” theory, a plaintiff

 must show (i) that there are sufficient facts to cast some articulable doubt on the accuracy of the

 outcome of the disciplinary proceeding; and (ii) a particularized causal connection between the

 flawed outcome and gender bias. See Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994); Neal

 v. Colorado State U., No. 16-cv-873, 2017 WL 633045 at **9-11 (D. Co. Feb. 16, 2017) (Shaffer,

 J.). As set forth below, the Complaint plausibly alleges that there were significant flaws in the

 disciplinary proceeding which cast doubt on the University’s decision to suspend Plaintiff, and

 that said decision was motivated by gender bias.

        A. Plaintiff Alleged Facts Which Cast “Some Articulable Doubt” on the
           Outcome of the Disciplinary Proceedings Against Him             _

        A plaintiff may cast articulable doubt on the outcome of university sexual misconduct

 proceedings in a number of ways, including: pointing to procedural flaws in the investigatory and

 adjudicative processes; noting inconsistencies or errors in the adjudicator’s oral or written

 findings; or challenging the overall sufficiency and reliability of the evidence. Doe v. Marymount

 U., 297 F. Supp. 3d 573, 584 (E.D. Va. Mar. 14, 2018). See Yusuf, 35 F. 3d at 715. A university’s

 denial of the opportunity for cross-examination in a case where credibility is at stake is also a fact

 sufficient to cast articulable doubt on the accuracy of the outcome. Doe v. Baum, 903 F.3d 575,




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 585-586 (6th Cir. 2018).2 That was precisely the case here. Compl. ¶ 47(xii). Where, as here, a

 student is acquitted of the criminal sex acts for which he was found responsible in the university

 proceedings, an erroneous outcome may be inferred. See Rolph v. Hobart and William Smith

 Colleges, No. 6:16-cv-06515, 2017 WL 4174933 at *12 (W.D.N.Y. Sept. 20, 2017). See Compl.

 ¶¶ 1-5, 57 n.8.

          Here, Plaintiff alleges that CU Boulder deprived him of a fair and impartial process by: i)

 withholding service of the Notice of Investigation until after he was interviewed by police (Compl

 ¶¶ 57-70; 176.i); ii) denying Plaintiff a hearing even though students accused of lesser violations

 were afforded this right (Id. ¶ 47(x), 57-61, 176.iii); iii) denying Plaintiff the right to cross-examine

 his accuser—even in the form of written questions—though students accused of far less serious

 conduct were afforded this right (Id. ¶¶ 47(xii), 176.iii); iv) precluding Plaintiff from questioning

 witnesses (Id. ¶ 176.iii); v) denying Plaintiff access to the investigation file until after Vice

 President Biden’s campus visit for It’s On Us and after the investigators issued their summary of

 the evidence (Id. ¶ 176.iv ); vi) using biased investigators—solely tasked with determining

 responsibility in Plaintiff’s case—who failed and refused to question Roe’s credibility and

 misstated the evidence in order to find Plaintiff responsible (Id. ¶¶ 99-120, 176.v); vii) failing to

 provide Plaintiff with any information about the Standing Review Committee, which reviewed the

 investigators’ finding (Id. ¶¶ 47(xiv), 176.vi); viii) allowing a review process—the Standing

 Review Committee—to serve as a “rubber stamp” for the investigative report and give only the

 appearance of impartiality (Id. ¶¶ 47(xiv), 176.vii); ix) allowing the Title IX Coordinator—who




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   Doe v. U. of Cincinnati, 173 F. Supp. 3d 586, 607 (S.D. Ohio 2016), relied upon by Defendants to argue that CU
 Boulder’s denial of the right of cross-examination has no relationship to gender bias or Plaintiff’s Title IX claim, pre-
 dates the Sixth Circuit’s decision in Doe v. Baum. Similar to the plaintiff in Baum, and discussed infra, Plaintiff, here,
 alleged a number of procedural flaws affecting the accuracy of the outcome in his disciplinary proceedings as well as
 facts sufficient to support a claim of gender bias under a totality of the circumstances.

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 was responsible for reporting sanctioning statistics to DiStefano—to determine Plaintiff’s sanction

 (Id. ¶¶ 48, 176.viii); x) denying any right to appeal, when students accused of far less serious

 misconduct were afforded the right to an appeal before an appeal committee (Id. ¶¶ 47 (xvii),

 176.ix); and x) allowing the Title IX Coordinator—who determined the sanction in Plaintiff’s

 case—to conduct an “administrative review” of her own prior determination (Id. ¶¶ 176.x).

        Further indicia of a flawed outcome in the university proceedings against Plaintiff are that

 Roe filed the university complaint and criminal report against Plaintiff approximately two years

 after the Spring 2014 encounter and six months after she and Plaintiff had sexual intercourse.

 Compl. ¶¶ 51-58. Roe also confessed to being in love with Plaintiff. Id. ¶ 53. The last conversation

 that Plaintiff had with Roe, before she falsely accused him of sexual misconduct, was about

 Plaintiff’s relationship with his girlfriend, who was also Roe’s close friend. Id. ¶¶ 54-55. Before

 witness interviews were conducted by BPD or CU Boulder investigators, Roe met with all of her

 and Plaintiff’s mutual friends to tell them her account of what allegedly happened with Plaintiff.

 Id. ¶ 71. One key witness, who was present at Roe’s meeting, later apologized to Plaintiff for her

 involvement, stating that she overreacted to Roe’s story. Id. ¶¶ 74 & n. 9, 104.ii & n. 12. See Neal,

 2017 WL 633045 at *9 (facts which cast articulable doubt on the outcome include a motive to lie

 on the part of the complainant or witnesses) (quoting Yusuf, 35 F.3d at 715). Roe’s motives were

 never questioned, nor were the witness’ motivations. Id. CU Boulder investigators also overlooked

 numerous inconsistencies in Roe’s and her witness’ accounts, erroneously finding her to be more

 credible despite the lack of credible evidence to support her allegation. Id. ¶¶ 99-120.

        Defendants argue that Plaintiff has failed to cast articulable doubt on the outcome of the

 proceedings against him because he “admits that he ‘pinned Jane Roe’s arms over head’ and

 ‘moved his hand down Jane Roe’s body towards her genitals.’” Moving Br. at 4 (emphasis added).



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 Yet the Code definition cited by Defendants (Moving Br. at 4), and in the Complaint (¶ 41),

 requires an intentional touching of the genitals, not moving towards them. Compl. ¶ 52. Defendants

 also fail to cite the full allegation, which shows that nonconsensual touching did not occur:

          The two moved to his bed and began to playfully wrestle during which Plaintiff
          pinned Jane Roe’s arms over her head. During this interaction, Plaintiff moved his
          hand down Jane Roe’s body towards her genitals when Jane Roe said “no.” Plaintiff
          respected Jane Roe’s wishes and stopped the interaction. The two continued to talk
          and kiss for the rest of the night. Jane Roe slept over Plaintiff’s house and left at
          approximately 6:00 a.m. Id.

 In contrast, as alleged in the Complaint, “at no point was [Roe] able to provide a clear account of

 what happened” including whether Plaintiff made contact with her genitals. Id. ¶¶ 101-103(iv),

 (v).

          Contrary to Defendants’ assertion, there is more at issue here than Plaintiff’s disagreement

 with the outcome of the disciplinary proceedings against him. As set forth above, and further

 explained below, there were numerous, alleged flaws in the proceeding, Roe had a motive to be

 dishonest, and there were numerous inconsistencies in Roe’s statements to BPD and the OIEC

 investigators which discredited her account. “Where the evidence substantially favors one party’s

 version of a disputed matter, but an evaluator forms a conclusion in favor of the other side,” it may

 be inferred that the evaluator has been influenced by bias. Doe v. Columbia U., 831 F.3d 46, 57

 (2d Cir. 2016).3 As set forth below, there is also ample, plausible support to infer that this bias was

 on account of Plaintiff’s sex. Id.

          B. Plaintiff Has Alleged Facts That Support A Plausible Inference That
             Gender Bias Was A Motivating Factor in the University’s Decision
             to Suspend Him For Eighteen Months


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   Doe v. Purdue University, 281 F. Supp. 3d 754, 778 (N.D. Ind. 2017), cited by Defendants, is inapposite. In Purdue,
 which is currently on appeal before the Seventh Circuit, the court found that the plaintiff did not specify any facts
 from either his own testimony, his written statements, or the complainant’s statement to support his argument that the
 facts were not properly weighed or to suggest that the evidence “substantially favors” his version of the events. Id. at
 778 (citing Doe v. Columbia U.).

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         Gender bias may be proven inter alia through the statements of members of the disciplinary

 tribunal, statements by pertinent university officials, or patterns of decision-making that tend to

 show the influence of gender.4 Yusuf, 35 F. 3d at 715. See Neal, 2017 WL 633045 at * 10. See also

 Doe v. Miami U., 882 F.3d 579, 592-93 (6th Cir. 2017); Columbia U., 831 F.3d 46, 57 (2d Cir.

 2016). Gender bias may also be inferred where an adjudicator possesses “outdated and

 discriminatory views of gender and sexuality.” Marymount U., 297 F. Supp. 3d at 586.

         Evidence that a college has been placed under federal investigation, severely criticized for

 its failure to protect female sexual assault victims and is under pressure to correct its perceived

 tolerance of the sexual assault of female students provides a “backdrop” for gender bias. Baum,

 903 F.3d at 586-587 (external pressure combined with hearing board’s credibility determinations

 in favor of females raised plausible inference of gender bias). See also Neal, 2017 WL 633045 at

 *12 (allegations that university under OCR pressure to enforce “Dear Colleague Letter” in a

 gender-skewed manner sufficient to plead gender bias); Miami U., 882 F.3d at 592-93 (plausible

 inference of gender bias where inter alia university faced pressure to zealously “prosecute” male

 respondents after facing lawsuit by female student); Columbia U., 831 F.3d at 58 (gender bias

 inferred where university was motivated to accept female accusation of sexual assault and reject

 male’s claim of consent to avoid further public criticism that it did not protect female students).

 As detailed below, taking the allegations of the Complaint as true, and drawing all reasonable

 inferences in Plaintiff’s favor, the totality of the circumstances alleged in the Complaint raise a

 plausible inference that the outcome of Plaintiff’s disciplinary proceeding was motivated by

 gender bias. See Doe v. Washington & Lee U., 2015 WL 4647996 at *10 (W.D. Va. Aug. 5, 2015).



 4
  Discovery is required to determine whether a university has engaged in a pattern of decision making that tends to
 show the influence of gender. Universities, including CU Boulder, do not publish statistics concerning the outcomes
 of sexual misconduct proceedings or the gender of those students who have been found responsible and sanctioned.

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            1.       CU Boulder Was Under Pressure to Protect Female Students

            Plaintiff alleges that: i) the April 2011 Dear Colleague Letter (“DCL”) sounded a “call to

 action” grounded in the unfounded statistic that 1 in 5 women are victims of completed or

 attempted sexual assault while in college (Compl. ¶¶ 20-21); ii) relying on this false statistic, the

 DCL minimized due process protections for the accused (Id. ¶ 21); iii) the White House

 subsequently issued a report that also relied on the false statistic and focused on protecting women

 from sexual assault (Id. ¶ 24); iv) as a result of the DCL, the 2014 “Questions &Answers on Title

 IX and Sexual Violence” (“2014 Q&A”)5 and “Not Alone” report, colleges faced a loss of federal

 funding if they did not work to improve their campus climates to better protect female accusers,

 ultimately tipping the scales in their favor (Id. ¶¶ 23-31).

            Plaintiff also alleges that: i) in May 2013, a female student at CU Boulder filed a complaint

 with OCR claiming that the University failed to issue a sufficiently severe sanction against the

 male respondent in her case (Id. ¶ 22); ii) OCR opened an investigation in response to the

 complaint, which was not closed until fifteen months after Plaintiff was suspended (Id.); iii) local

 press noted that, as a result of the investigation, CU Boulder could be referred to the Department

 of Justice for prosecution or that it could lose its federal funding (Id.); iv) in May 2014, CU Boulder

 was publicly named by OCR as one of the first 55 universities under investigation for violating

 Title IX and the announcement confirmed that the University faced a potential loss of federal

 funding or prosecution (Id. ¶ 25); v) in May 2014, the CU Independent announced that CU Boulder

 settled the case with the female OCR complainant (Id. ¶ 28); and vi) the female OCR complainant

 publicly stated that CU Boulder needed to change its policies to “really cater towards survivor

 needs” (Id.).



 5
     See, https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf (Archived).

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          Plaintiff further alleges: i) in February 2016—after Roe filed her University complaint and

 police report—CU Boulder was publicly criticized for administering lax punishments in sexual

 misconduct cases and “fostering a rape culture…which…teaches young men that drunken

 hookups are a space of free reign where anything goes” (Id. ¶ 35) (emphasis added); ii) during the

 investigation of Roe’s allegations, Vice President Biden delivered a speech as part of the “It’s On

 Us Week of Action” in which he focused on protecting women from sexual assault and called upon

 male students to be better men (Id. ¶¶ 37); iii) It’s On Us focuses on better protecting female

 victims of sexual assault, and disseminates educational videos which portray males as sexual

 predators (Id. ¶ 34 & n. 9); and iv) Simons, Title IX Coordinator, who decided the sanction in

 Plaintiff’s case and conducted an “administrative review” of her own decision, appeared in an It’s

 On Us video during the time in which the allegations against Plaintiff were being investigated and

 Vice President Biden visited campus. Id. ¶ 89.

          Defendants argue that the Complaint fails to allege facts “demonstrating” that “outside

 pressure actually influenced [the University], not just to aggressively pursue sexual assault cases,

 but to do so in a manner biased against males.” Moving Br. at 7 (citing Ruff v. Bd. of Regents of

 New Mexico, 272 F. Supp. 3d 1289, 1298 (D.N.M. 2017))6. Yet the allegations set forth above

 clearly allege that CU Boulder was pressured to take an aggressive stance against males accused

 of sexual misconduct in order to avoid a potential loss of federal funding or prosecution, and repair

 its reputation for fostering a culture in which male students get away with raping female students.

 As further alleged in the Complaint, “Plaintiff was subjected to a biased, unfair and prejudicial


 6
   Ruff is readily distinguishable from the instant case because in Ruff there were no allegations that the university was
 under pressure to better protect females from sexual assault, or to take a more aggressive stance against males accused
 of sexual assault. Likewise, in Doe v. Columbia College Chicago, 299 F. Supp. 3d 939, 953 (N.D. Ill. 2017), there
 were no allegations that the pressure faced by the college was related to gender. These cases also seem to apply a
 standard of proof more akin to what would be required at the summary judgment stage than to survive a motion to
 dismiss. See Neal 2017 WL 633045 at * 13 (noting that courts that rejected allegations of federal and campus pressure
 drew inferences against the plaintiff or applied a standard typically reserved for summary judgment).

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 process in violation of Title IX, designed to find him, the male, responsible for sexual misconduct

 and punished severely for it.” Compl. ¶ 159. Plaintiff also alleges that the Title IX investigators

 assigned to his case were under pressure to find him responsible in order to “maintain CU

 Boulder’s commitment to protecting female victims of sexual assault.” Id. ¶ 114.

         Defendants minimize Simons’ participation in the It’s On Us campaign during the

 timeframe in which CU Boulder was under OCR investigation, and Roe’s allegations against

 Plaintiff were being investigated, as merely “raising awareness of sexual assault without drawing

 gendered assumptions against males.” Moving Br. at 9.7 However, Plaintiff alleges that the It’s On

 Us campaign was promoted by the Vice President of the United States—a representative of the

 federal government—who gave a speech on campus that portrayed the campaign’s goal as

 protecting females. Compl. ¶¶ 36-37. Biden’s visit was publicly declared a “test of character” for

 the University. Id. ¶ 37. Plaintiff further alleges that It’s On Us utilizes promotional materials

 which expressly portray men as rapists. Id. ¶ 34 & n. 6. These allegations are far more gender-

 specific than those asserted in Columbia College Chicago, 299 F. Supp. 3d at 955, in which the

 college in question sponsored “Take Back the Night” events and there was no allegation that either

 a key decision maker or influential government official participated in those events during the time

 in which the college was under OCR investigation.

         Unlike Doe v. U. of Chicago, 2017 WL 4163960 (N.D. Ill. Sept. 20, 2017), Plaintiff, here,

 alleges that the University’s participation in It’s On Us was motivated by efforts to demonstrate

 that it was taking a more aggressive stance to address the concerns of female victims of sexual

 assault after being criticized for handing out lax punishments to males accused of sexual



 7
  In support of this assertion, Defendants’ cite Doe v. Colgate University, 2017 WL 4990629 (N.D.N.Y. Oct. 31,
 2017), a summary judgment opinion, which is currently on appeal before the Second Circuit.


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 misconduct. Compl. ¶¶ 22, 25, 28, 30, 34-37. These are facts from which an intent to discriminate

 against males can be inferred. See Columbia U., 831 F.3d at 58.

        Doe v. Loh, 2018 WL 1535495 (D. Md. Mar. 29, 2018), currently on appeal before the

 Fourth Circuit, is also distinguishable because in Loh the plaintiff generally alleged that the

 university participated in events to raise awareness about violence against women which did not

 “standing alone create an inference” that the university was “indifferent or hostile to the needs of

 the remaining student body.” Id. at * 10 (emphasis added).

           2.   The Lead Investigator In Plaintiff’s Case Was A Women’s Advocate

        Plaintiff alleges that the lead investigator, Hasselbacher, an attorney who was responsible

 for determining whether Plaintiff violated the Student Conduct Code: i) had a dual role which

 included ensuring that the University was Title IX compliant (Id. ¶ 59); ii) worked closely with

 the Office of Victim Assistance (Id.); iii) had a background in Women’s Studies and extensive

 career experience as an advocate for female victims of sexual assault and domestic violence (Id.).

 Hasselbacher’s past experience caused her to view the evidence through a gender-biased lens. Id.

 ¶ 115. Defendants assert that this background should be disregarded because “experience working

 with survivors of domestic violence does not establish that [the investigator] harbors pro-female

 biases.” Moving Br. at 10. Here, Plaintiff alleges far more than general experience. Defendants’

 reliance on Doe v. University of Denver, 2018 WL 1304530, at * 11 (D. Col. March 13, 2018)

 (Brimmer, J.), which is currently on appeal before the Tenth Circuit, is misplaced because it is a

 summary judgment decision. In University of Denver, the Court found that the only evidence

 adduced during discovery was that an individual involved in the investigation worked with

 domestic violence survivors. Id.




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        As alleged in the Complaint, gender bias can be inferred from the actions of Hasselbacher

 and Walker (who was far less experienced than, and influenced by, Hasselbacher), (Id. ¶ 116),

 during their investigation:

        •       Hasselbacher told Plaintiff that he had two business days to find an advisor and
                schedule a meeting or conclusions would be drawn against him while informing
                Jane Roe that she had unlimited time and she could participate at her convenience.
                Compl. ¶¶ 62, 70.

        •       Hasselbacher gave Plaintiff only two hours of access to the investigation file—after
                numerous requests for access were denied—and informed him that the investigators
                planned to issue a written evidence summary before his review and response to
                their follow-up questions. Id. ¶¶ 76-86. They then issued the written evidence
                summary prior to giving Plaintiff access to the file or asking him follow-up
                questions. Id. ¶ 86. In contrast, the investigators met with Jane Roe prior to issuing
                the written evidence summary. Id. ¶ 79.

        •       Plaintiff was denied access to the file because of Vice President Biden’s visit to
                campus. Id. ¶ 85. Once Plaintiff accessed the file, after the written evidence
                summary was issued, he was precluded from conferring with his attorney or making
                copies of any of the documents. Id. ¶ 90. On May 2, 2016, Hasselbacher and Walker
                issued an amended written evidence summary. Plaintiff was then allowed to
                conduct a second file review for, again, only two hours. Id. ¶ 95.

        •       When issuing the written evidence summary, Hasselbacher told Jane Roe not to
                share it with anyone other than her advisor or it could be viewed as retaliation
                against Plaintiff. Id. ¶ 86. Jane Roe provided the evidence to BPD and no action
                was taken against her. Id. ¶ 88.

        •       Hasselbacher, and Walker, waited two months to review Plaintiff’s interview with
                BPD, until after they had interviewed all the other witnesses and were beginning to
                write their final report. Id. ¶¶ 72-86. They observed Jane Roe’s first BPD interview
                in person but declined to observe Plaintiff’s. Id. ¶¶ 65-66.

        •       In determining that Plaintiff was responsible for non-consensual sexual contact
                with Jane Roe, Hasselbacher and Walker overlooked significant inconsistencies in
                Roe’s varying accounts to find her more credible than Plaintiff. Id. ¶¶ 102-103.
                They further permitted Roe to explain away inconsistencies in the accounts of her
                female friends, to find their accounts credible. Id. ¶¶ 104 i.-ii. Hasselbacher and
                Walker never asked Roe for her own account, but rather asked her to respond to
                Plaintiff’s. Id. ¶ 102. In contrast, Hasselbacher and Walker misinterpreted
                Plaintiff’s account to BPD as impacting his credibility when Plaintiff was



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                   responding to a false set of allegations, created by Detective Beckjord, which had
                   no relationship to what Roe had alleged. Id. ¶¶ 105-109.8

          •        Hasselbacher and Walker issued a finding that contradicted Roe’s account of what
                   happened and misstated a number of facts. Id. ¶¶ 117-118.


          Plaintiff also alleges that, due to the OCR investigation, Biden’s visit and the public

 criticism against CU Boulder, Hasselbacher and Walker were “under pressure to ensure that

 Plaintiff be found responsible for violating the Student Conduct Code, in order to appease Jane

 Roe and maintain CU Boulder’s commitment to protecting female victims of sexual assault.” Id.

 ¶ 114. Hasselbacher and Walker did not question Roe’s credibility because CU Boulder trained

 them to take a “trauma-informed approach” in which female complainants are presumed to be

 telling the truth and difficult or sensitive questions are avoided. Id. ¶ 115.

          3. That Investigators Found Plaintiff “Not Responsible” for Jane Roe’s
             Sexual Assault Allegation Does Not Dispose of His Claim of Gender Bias

          Defendants argue, without factual support at the pleading stage, that because the University

 found Plaintiff not responsible for the July 2015 allegation of nonconsensual sexual intercourse

 with Jane Roe, he cannot allege gender bias. Moving Br. at 5-6. But Defendants failed to put those

 records before this Court and they would require analysis far better suited to a motion for summary

 judgment. As alleged in the Complaint, in January 2016, Roe reported the Spring 2014 allegation

 (non-consensual sexual contact) and the July 2015 allegation (nonconsensual sexual intercourse)

 to BPD and CU Boulder as one complaint. Compl. ¶¶ 51-58. The allegations were jointly


 8
   As noted by Judge Martinez in Doe v. University of Colorado, Boulder, 255 F. Supp. 3d 1064, 1079 (D. Colo. 2017),
 “credibility determinations as between a male and a female may be the most likely circumstance in which gender bias,
 explicit or implicit, will have an effect.” According to Judge Martinez’ opinion, the investigator in that case had no
 statement from the plaintiff against which to weigh the female complainants’ credibility, and the witnesses involved
 supported the complainants’ accounts. Id. Plaintiff’s allegations, here, show inconsistencies in Roe’s account of what
 happened, that the investigators mischaracterized and discredited Plaintiff’s account, and that the witnesses
 contradicted Roe or were inconsistent. Roe also met with witnesses ahead of time to get her story straight and a key
 witness was not interviewed. See Compl. ¶¶ 101-116.


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 investigated by Hasselbacher and Walker who, as set forth above, were under pressure to keep up

 the University’s public commitment to protect female victims and to appease Roe, whom they

 knew was pursing criminal charges against Plaintiff. Id. ¶¶ 66-69, 114-115. Per the Complaint,

 there was no evidence to support either allegation. Id. ¶¶ 51-57, 99-120.

        That Hasselbacher and Walker found Plaintiff not responsible for one of two allegations

 made by the same complainant, and as part of the same investigation, does not at all negate an

 inference of gender bias. Quite the contrary. Based on the facts alleged, which must be taken as

 true and viewed in the light most favorable to Plaintiff, it is quite plausible that Hasselbacher and

 Walker found Plaintiff responsible for a perceived “lesser” offense because, as the male aggressor,

 he had to be found responsible for something, for failure to do so would have exposed Defendants

 to yet further criticism and another OCR complaint while the earlier complaint was still under

 investigation. They also could have been motivated to create the appearance of upholding CU

 Boulder’s well-publicized policy of taking a more aggressive stance in sanctioning male

 respondents, striving—despite a clear lack of evidence—to make an example of Plaintiff by

 finding him responsible.

        As further discussed infra, the severity of the sanction issued by Simons—an eighteen-

 month suspension—also suggests that gender bias was at work. It is plausible that Simons punished

 Plaintiff for both alleged offenses by increasing the sanction for one offense in order to keep up

 the appearance that CU Boulder was cracking down on males accused of sexual misconduct. Given

 that CU Boulder was under OCR investigation at the time, it is also plausible that CU Boulder was

 providing statistics to OCR concerning its sanctions, in the face of a complaint that they previously

 failed to issue severe enough sanctions against male respondents. See Compl. ¶¶ 22, 28. This could

 have resulted in their decision to impose a more severe sanction against Plaintiff, a male



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 respondent. These are issues of fact which Plaintiff respectfully submits he should be permitted to

 explore in discovery.

        Defendants’ reliance on Doe v. Cummins, 662 Fed. Appx. 437 (6th Cir. 2016), is

 inapposite. In Cummins, there were no allegations that the university faced public criticism of its

 handling of sexual assault investigations or that it was under OCR investigation. Id. at 453-454.

 The plaintiffs in Cummins also alleged that men were “invariably found responsible” for sexual

 misconduct violations—this is not alleged in the Complaint here. Id. (emphasis added). In

 Cummins, the court found that this allegation was contradicted by the fact that one of the plaintiffs

 was found not responsible for sexual misconduct with respect to one of two, separate complaints.

 Id. That Plaintiff, here, was found not responsible for one of two alleged violations does not, as

 Defendants contend, negate the inference that CU Boulder has engaged in a pattern of decision

 making which applies a chauvinistic view of the sexes. Moving Br. at 6. See Neal, 2017 WL

 633045 at *10. This is because, as discussed supra, the allegations against Plaintiff pertain to one

 complainant, they were jointly investigated, and it can be inferred that the University was

 determined to find Plaintiff responsible for something in order to appease Jane Roe and bolster

 CU Boulder’s reputation.

        Moreover, the allegations of the Complaint here are not limited to findings of responsibility

 in every case in which a male was accused, but encompass the imposition of unwarranted findings

 against male students in order to bolster CU Boulder’s reputation and harsher sanctions against

 males found responsible for sexual misconduct. Once CU Boulder’s statistics and reports are made

 available, it is quite possible that they will demonstrate a pattern of finding males responsible, and

 issuing unusually harsh sanctions, in circumstances similar to Plaintiff’s, but not doing the same

 in cases involving similarly situated female respondents. It is also possible that CU Boulder



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 initiated formal investigations only with respect to males, while declining to pursue similar

 allegations against females accused of sexual misconduct. It is further a possibility that findings

 of responsibility in cases against male respondents increased after OCR commenced its

 investigation and/or that the severity of the sanctions issued against them also increased. There are

 endless possibilities as to what ultimately may be found in the University’s records which may

 further establish Plaintiff’s plausible allegations of gender bias. At this stage, however, the Court

 is not required to determine whether Plaintiff will ultimately prevail on the merits. Mondragon,

 2017 WL 733317 at *4.

               4. Simons Had A Conflict of Interest and Was Potentially Biased

          The DCL and 2014 Q&A advise against university employees holding the position of Title

 IX Coordinator if they have other responsibilities that may create a conflict of interest. DCL at 7;

 2014 Q&A at 11-12. An employee who is responsible for Title IX compliance should not be

 responsible for deciding a sexual misconduct case or hearing an appeal because of the potential

 for bias. Id. See Compl. ¶¶ 148, 154. Simons had a conflict of interest because, as Title IX

 Coordinator, she was responsible for compiling statistics for sexual misconduct complaints,

 including data concerning the sanctions issued, and presenting them to DiStefano. Id. ¶¶ 48, 123.9

          Simons was solely responsible for determining the sanction issued in Plaintiff’s case—an

 eighteen-month suspension when he was only 6 credits shy of graduating—which was


 9
   Defendants assert that “evidence that a University has endeavored to comply with federal guidance…cannot support
 a violation of Title IX.” Moving Br. at 11. However, in placing Simons in the role of Title IX Coordinator while giving
 her the power to sanction, and conduct an administrative review, CU Boulder did not endeavor to comply with federal
 guidance. Moreover, a university’s purported compliance with federal guidance does not mean that administrators are
 free from bias, or cannot still be motivated by gender bias in violation of Title IX. Defendants misconstrue Doe v.
 Purdue University, 281 F. Supp. 3d at 778-79, as supporting their assertion that “Simons’ dual role as Title IX
 Coordinator and sanctioning authority” did not create a conflict of interest that would support a Title IX claim. Moving
 Br. at 11. In Purdue, the court did not hold that there was no conflict of interest, but that an allegation of dual roles,
 without more, did not demonstrate gender bias. Id. This issue is currently under review by the Seventh Circuit. As set
 forth infra Plaintiff has alleged sufficient facts to support a plausible inference of gender bias at this stage of the
 proceedings.

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 unwarranted, given the lack of evidence, and unduly severe given Roe’s allegations against him.

 Id. ¶¶ 2, 121-131.

        Simons also elected to apply CU Boulder’s 2016-2017 OIEC Procedures to conduct an

 “administrative review” of an appeal that Plaintiff filed pursuant to the 2013-2014 Student Conduct

 Code. Id. ¶¶ 46, 47(xvii), 132-140. Simons had the option of designating someone else to conduct

 the review but did not take this course. Compl. ¶ 49. Simons failed to reverse the sanction she

 issued against Plaintiff. Id. ¶ 133. The administrative review was a sham (Id. ¶¶ 132-140):

        First, Simons’ correspondence to Plaintiff, upholding her sanction, compared CU Boulder

 investigators, and Simons, to judges sitting in a court of law. Id. ¶ 133.ii.

        Second, Simons rationalized Roe’s nearly two-year delay in making a report—which was

 not questioned—as a result of her trauma. Id. ¶ 133.iii. Simons then misinterpreted the DCL as

 suggesting that all complainants who delay reporting are credible. Id. Simons’ presumption that

 Roe was credible because she was traumatized—i.e. a trauma-informed approach—was an

 indicator of gender bias in her review. Id. This approach, as implemented, presumes that female

 complainants always tell the truth, discourages asking questions directly related to complainant

 credibility and presumes that male respondents are typically the sexual aggressors. Id. ¶ 137. See

 also id. ¶ 32 & n. 5. When a university statistically initiates formal conduct proceedings in cases

 predominantly—or exclusively—involving female complainants and male respondents, then a

 trauma-informed approach in which the female is always believed, and the male always

 discredited, gives rise to an inference of gender bias. The correlation between trauma-informed

 training and gender bias is a matter best resolved at the summary judgment stage, once a university

 has made its statistics and training materials available and the parties have submitted any expert

 reports.



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        Third, Simons overlooked the inconsistencies in Roe’s account of what happened,

 including that she did not provide a consistent account of whether or not genital contact occurred,

 to justify the sanction on the false ground that Plaintiff and Roe gave “similar” accounts. Id.

 ¶ 133.v.

        In the midst of OCR’s investigation of CU Boulder, DiStefano hired Simons, who was

 publicly lauded for her previous work at the United States Department of Justice. DiStefano

 publicly emphasized Simons’ prior role in assisting women with integration at a formerly all-male

 state university. Compl. ¶ 30. Simons was named OIEC Director and Title IX Coordinator,

 positions she held during Plaintiff’s disciplinary proceedings. Id. ¶¶ 121-131. She worked closely

 with OCR during the course of its investigation of the University’s failure to protect female sexual

 assault victims. Id. ¶ 123. Simons also served as the University’s public voice against sexual

 assault. Id. She also publicly supported women’s advocacy groups during the timeframe in which

 Roe’s allegations were investigated. Id. ¶ 125.

        The above-stated facts raise a plausible inference that, under the totality of the

 circumstances, the key decisionmakers in Plaintiff’s disciplinary proceeding, Hasselbacher,

 Walker and Simons, were motivated to find Plaintiff responsible for non-consensual sexual contact

 and issue a harsh sanction against him, despite a lack of evidence to support Roe’s allegations,

 because they were under pressure to take harsh measures against male respondents. Two of the

 three also had extensive career experience with women’s advocacy. Simons served as the

 University’s public voice against sexual assault and appeared in a video on behalf of an

 organization that was interested in protecting female victims of sexual assault, during a time when

 Vice President Biden visited campus for the express purpose of asking the University to do more

 to protect women. This took place during the investigation of Roe’s allegations against Plaintiff.



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          Defendants’ argument that “the problems [Plaintiff] has alleged do not point to the

 University’s alleged desire to find men responsible because they are men” is unpersuasive here.

 Moving Br. at 6, 8 (citing Doe v. University of Colorado, Boulder, 255 F. Supp. 3d at 1078).10 In

 Doe the court dealt with different administrators, different procedures and very different

 allegations than alleged here. Id.11 Plaintiff respectfully submits that the court in Doe also failed

 to draw appropriate inferences in the plaintiff’s favor and drew certain inferences against the

 plaintiff. For example, when addressing “the claim that the University investigates and disciplines

 men for sexual misconduct far more than women,” the court presumed that “the majority of

 accusers of sexual assault are female and the majority of the accused are male.” Id. It is not clear

 that this was alleged in the complaint at issue in Doe. Moreover, the court prematurely ruled out

 the possibility that CU Boulder could have a history of cases which include female respondents

 who were treated differently than male respondents, or even female accused whose cases were not

 ultimately investigated. It is also possible that, even if the respondents were all male, that the

 sanctions issued correlated to pressure exerted by OCR and that OCR documents would reveal that

 its investigation centered around the manner in which the University failed to protect female

 accusers—these are facts that would not have been in the plaintiff’s possession at the time of

 pleading. See Neal, 2017 WL 633045 at * 13 (noting that courts that rejected allegations of federal


 10
    Defendants also appear to suggest that nothing more has been alleged here than “pro-victim” bias. Moving Br. 6-7.
 Yet the allegations of the Complaint clearly state that the University favored female complainants over male
 respondents. In discovery, CU Boulder’s data may also reveal that the University favored female complainants over
 male complainants, thus eliminating the notion of “pro-victim” bias. Moreover, even if the cases formally investigated
 at CU Boulder involved all female complainants and all male respondents, gender bias could still have infected CU
 Boulder’s sexual misconduct process. As noted by Judge Martinez in Doe v. University of Colorado at Boulder, 155
 F. Supp. 3d at 1076 “if enforcement officials are regularly presented with a scenario involving the same two potential
 classifications—nurse and female, taxi driver and ethnic minority, sexual assault suspect and male—there must come
 a point when one may plausibly infer that stereotypes about the protected classification (such as gender or ethnicity)
 have begun to infect the enforcement process generally.”
 11
    The same is true of Johnson v. W. State Colo. U., 71 F. Supp. 3d 1217, 1225 (D. Colo. 2014) (Martinez, J.) where
 the plaintiff failed to allege specific facts to support his claim of gender bias and alleged only a general conspiracy
 amongst female administrators to bring disciplinary proceedings against him. Doe v. Trustees of Boston College, 892
 F.3d 67, 91 (1st Cir. 2018) is inapposite because it is a summary judgment opinion. See Moving Br. at 5.

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 and campus pressure drew inferences against the plaintiffs or applied a standard typically reserved

 for summary judgment).

        Defendants also mischaracterize the Complaint as alleging that CU Boulder generally

 favors students alleging sexual misconduct over students who are accused of misconduct. Moving

 Br. at 7. However, the Complaint alleges that inter alia “CU Boulder possesses communications

 and documents evidencing a predisposition to favor female students alleging sexual misconduct

 over male students who are accused of sexual misconduct.” Compl. ¶ 156 (emphasis added). As

 set forth above, and as alleged in the Complaint, if CU Boulder administrators approach sexual

 misconduct cases in a manner in which female complainants are to be believed, and difficult

 questions avoided in order to prevent re-traumatization, male respondents are discredited and

 denied basic rights such as cross-examination and, in turn, male students are issued harsh and

 unwarranted sanctions, then gender bias may be inferred.

        For all of the above-stated reasons, the Court should deny Defendants’ motion to dismiss

 Plaintiff’s Title IX claim.



 III.   Plaintiff Has Plausibly Alleged A Violation of His Right to Due Process

        It is unclear why Defendants have elected to challenge Plaintiff’s due process claim, here,

 when they are presently litigating a due process claim brought by a former CU Boulder student

 accused of sexual misconduct—which survived a motion to dismiss—before Judge Martinez. See

 Doe v. DiStefano, No. 16-cv-1789, 2018 WL 2096437 at *8. In Neal v. Colorado State University-

 Pueblo, 2017 WL 633045 at **18-25, Judge Shaffer also held that similar allegations supported a

 plausible due process claim, warranting denial of the defendants’ motion to dismiss. Accordingly,




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 and as further set forth below, the Court should deny Defendants’ motion to dismiss Plaintiff’s due

 process claim.

        A. Plaintiff Was Entitled to Heightened Due Process Protections

        The Fourteenth Amendment to the United States Constitution provides that a state shall not

 deprive any person of life, liberty or property without due process of law. U.S. Const. Am. XIV.

 “‘Under this amendment, we address two questions. The first is whether a liberty or property

 interest exists. The second is whether the State provided sufficient procedures.’” Neal, 2017 WL

 633045 at *18 (citing Brown v. U. of Kansas, 599 Fed. Appx. 833, 837 (10th Cir. 2015)).

        1. Plaintiff Has Both A Property Interest and A Liberty Interest At Stake

        Defendants concede that Plaintiff has a property interest in his education that cannot be

 deprived without due process of law. Moving Br.at 12. Defendants assert that Plaintiff has not

 alleged that he has a liberty interest because he has not alleged an alteration in legal status. Id. Yet

 in Goss v. Lopez, the Supreme Court held that a student’s liberty interest was implicated by even

 a 10-day suspension, if recorded in a student’s education records, because those charges could

 “seriously damage the students’ standing…as well as interfere with later opportunities for

 education and employment.” 419 U.S. 565, 574-575 (1975). See Neal, 2017 WL 633045 at *20

 (plaintiff’s liberty interest in his good name, reputation and integrity added further weight to the

 interests at stake in the university sexual misconduct proceedings). In Doe v. The Rector and

 Visitors of George Mason University, 149 F. Supp. 3d 602, 613-614 (E.D. Va. 2016), the Court

 held that a charge of sexual misconduct “plainly calls into question [a] plaintiff’s ‘good name,

 reputation, honor or integrity.’” Id. (citation omitted). Also, that “common sense suffices to

 understand that an adjudication of responsibility for sexual misconduct carries a much more

 powerful stigma than an adjudication of run-of-the-mill assault or vandalism.” Id. at 622. The



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 Court found that the marking of the plaintiff’s transcript with a non-academic expulsion would

 impact the plaintiff’s future educational and employment endeavors and lead to public disclosure

 that the plaintiff was expelled and suggest that “he had serious character defects.” Id. at 613-614.

 The court added, “if this were not sufficient, the undisputed record reflects that Roe, a member of

 the general public, was in fact informed that plaintiff was found liable for sexual misconduct.” Id.

          Here, Plaintiff alleges that “CU Boulder deprived Plaintiff of his liberty and property

 interests without affording him basic due process.” Compl. ¶ 178. He further alleges that he had a

 right to occupational liberty. Id. ¶ 170. “The University suspended Plaintiff—who had only 6

 credits left towards his Bachelor’s degree—for a period of eighteen months. At the time,

 Plaintiff…was enrolled in AFROTC and lost his scholarship…. His anticipated career in the Air

 Force was also sidelined.” Compl. ¶ 6. Plaintiff further alleges that “Simons issued an unwarranted

 and unduly severe sanction which: i) suspended Plaintiff for 18 months; ii) banned Plaintiff from

 campus; iii) required him to undergo “an evaluation and treatment from a licensed sex offender

 provider;” iv) required proof of any court ordered or other sanctions; v) required that any

 application for readmission be personally approved by Simons; and vi) contained a no contact

 order prohibiting contact with Roe.” Id. ¶ 126. Information about the misconduct proceedings was

 also shared with Jane Roe and she shared that information with third parties. Id. ¶¶ 87-88. Roe was

 also notified of the outcome of the investigation. Id. ¶¶ 47(xv). The investigation report and

 sanction will be retained for a “minimum of three years.” Id. ¶ 47xviii.12 These allegations raise a

 plausible inference that Plaintiff has a liberty interest at stake.

          2. Plaintiff Was Denied the Heightened Due Process Protections to
             Which He Was Entitled                                     ___



  It is unclear to Plaintiff what will happen to his transcript, and whether it will be permanently marked, an issue that
 12

 would be hashed out in discovery.

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        As a result of CU Boulder’s investigation, Plaintiff faced severe sanctions, including long-

 term suspension or expulsion, and was, therefore, entitled to heightened due process protections.

 Disciplinary proceedings require more stringent procedures because, unlike academic proceedings

 that involve qualitative evaluations, disciplinary proceedings “bear a resemblance to traditional

 judicial and administrative factfinding.” Allahverdi v. Regents of University of New Mexico, 2006

 WL 131380 at *14 (D.N.M. Apr. 25, 2006). See Neal, 2017 WL 633045 at *24 (“Due process for

 disciplinary proceedings is more extensive than for academic decisions”).

        Procedural due process requires, at a minimum, notice and an opportunity to be heard.

 Matthews v. Eldridge, 424 U.S. 319, 348 (1976). Whether or not due process has been afforded

 depends on the facts and circumstances of the particular case. “Higher courts consistently

 admonish that due process jurisprudence cannot be applied woodenly.” Neal, 2017 WL 633045 at

 *25 (collecting cases). Whether the State has provided sufficient procedures is determined by

 balancing the competing interests involved: i) the private interest affected by the official action;

 ii) the probable value, if any, of additional or substitute procedural safeguards; and iii) the State’s

 interest including any fiscal and administrative burden. Neal, 2017 WL 633045 at *19 (citing

 Brown v. U. of Kansas, 599 Fed. Appx. at 837). Defendants do not address these factors in their

 motion to dismiss. Moving Br. at 12-16.

        Where, as here, a plaintiff faces disciplinary action that carries significant long-term

 consequences—such as suspension or expulsion—then his private interest is “exceptionally

 robust” compared to the burden on the State in providing adequate due process protections. Neal,

 2017 WL 633045 at **19-20. Here, as a result of being accused of sexual misconduct, Plaintiff

 faced the possibility of a long-term suspension or expulsion, as an outcome of the University’s

 investigation. In fact, Plaintiff was suspended for 18 months, required to undergo “sex offender”



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 treatment and to personally meet with Simons to even be considered for readmission to the

 University. This sanction is akin to expulsion because readmission is conditioned upon Simons’

 evaluation of Plaintiff and therefore not guaranteed. Compl. ¶ 126. Plaintiff—who had an

 unblemished disciplinary record—was only 6 credits shy of graduation. Id. ¶ 2. For these reasons,

 he had an “exceptionally robust” interest, as compared to the University’s, which warranted

 heightened due process protections.

        Plaintiff alleges that his right to due process was violated when:

        i.      OIEC personnel withheld service of the Notice of Investigation—at the request of
                BPD—until after Plaintiff was interviewed by Detective Beckjord.

        ii.     Plaintiff was required to schedule a meeting within 3 days of receiving the Notice
                of Investigation or conclusions would be drawn against him. In contrast, Jane Roe
                had no time constraints placed on her throughout the course of the investigation.

        iii.    Plaintiff was provided no form of hearing and was permitted to ask no questions of
                the complainant or any other witnesses. Students accused of violations other than
                sexual misconduct were permitted to submit written questions to be asked of the
                complainant and, in certain cases, a hearing was held.

        iv.     Plaintiff was denied access to the investigative file until after Vice President
                Biden’s visit, then Hasselbacher and Walker issued the written evidence summary
                prior to Plaintiff’s review of the file.

        v.      Hasselbacher and Walker failed to question Jane Roe’s credibility and misstated
                facts about the Spring 2014 allegation in order to find Plaintiff responsible for
                violating the Student Conduct Code.

        vi.     OIEC failed to provide Plaintiff with any information about the Standing Review
                Committee, including any right to challenge the members reviewing the
                Confidential Investigation Report;

        vii.    The Standing Review Committee took less than one day to review the investigative
                file and read the 55-page report;

        viii.   Simons, who had a vested interest in the outcome of Title IX cases at CU Boulder,
                issued the sanction.




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          ix.      Plaintiff was denied the right to an appeal before an appeal committee. Students
                   accused of violations other than sexual misconduct are given this right. Plaintiff
                   was also entitled to an appeal, or seek leave to appeal, by an appeal committee
                   under the Student Conduct Code.

          x.       Simons tasked herself as the sole individual responsible for conducting an
                   administrative review of Plaintiff’s appeal.

 Compl. ¶ 177.

          Overall, “CU Boulder deprived Plaintiff of his liberty and property interests without

 affording him basic due process, including but not limited to, his right to be notified of the charges

 against him, his right to a fair adjudication, his right to be heard by an impartial factfinder, to

 question his accuser, to challenge the credibility of other adverse witnesses and present evidence

 and witnesses in support of his defense.” Id. ¶ 178.

                   a. Plaintiff Had A Right to A Hearing With Cross-Examination

          Multiple courts—including Judge Shaffer of this District—have held that, a plausible due

 process claim exists in cases where, as here, it is alleged that a university investigation resolved

 into a problem of credibility and the university failed to provide the plaintiff with a formal hearing,

 including the right to cross-examine witnesses and present evidence. See Neal, 2017 WL 633045

 at *25. See also Baum, 903 F.3d at 581-582; Doe v. U. of Cincinnati, 872 F.3d 393, 401-401 (6th

 Cir. 2017); Lee v. U. of New Mexico,13 No. Civ 1:17-cv-1230, Docket No. 36 (D.N.M. Sept. 20,

 2018).14 According to the Sixth Circuit, these protections are required in serious disciplinary

 matters because:


 13
    In this case the District Court also held that the preponderance of the evidence standard is not the proper standard
 for sexual misconduct investigations given their significant consequences.
 14
    Defendants dismiss the right to cross-examination in university sexual misconduct proceedings as unnecessary
 because the “Tenth Circuit has not recognized such a right.” Moving Br. at 16. Yet Defendants rely on numerous cases
 that are not only District Court opinions but outside the Tenth Circuit for arguments raised in support of their motion—
 including to the proposition that cross-examination is not necessary here. Id. Doe v. Loh, 2018 WL 1535495, which
 Defendants cite for the proposition that Plaintiff was somehow afforded other, unspecified mechanisms to challenge
 Roe’s account is inapposite. In Loh, the plaintiff met with a Review Committee. At the meeting he was permitted to
 question the investigator and questions were asked of him by the Committee. He was permitted to present evidence to

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          Due process requires cross-examination in circumstances like these because it is
          ‘the greatest legal engine ever invented’ for uncovering the truth. Univ. of
          Cincinnati, 872 F.3d at 401–02 (citation omitted). Not only does cross-examination
          allow the accused to identify inconsistencies in the other side's story, but it also
          gives the fact-finder an opportunity to assess a witness's demeanor and determine
          who can be trusted. Id. So if a university is faced with competing narratives about
          potential misconduct, the administration must facilitate some form of cross-
          examination in order to satisfy due process. Id. at 402.

 Here, Plaintiff alleges that there were competing narratives about the Spring 2014 allegation, that

 Roe gave inconsistent accounts to investigators, that Roe’s witnesses’ accounts were inconsistent

 with Roe’s and investigators allowed her to explain away the inconsistencies, and that Plaintiff

 gave a consistent account that the investigators discredited. Compl. ¶¶ 101-120. There were no

 eyewitnesses to the encounter, other than Plaintiff and Roe, and no immediate outcry witnesses.

 Id. ¶ 104. The case clearly resolved into an issue of credibility, yet the University provided no

 hearing or mechanism for cross-examination.15 Yet CU Boulder students accused of far lesser

 offenses such as housing violations have the right to a hearing. ¶ 47(x). Students accused of far

 less serious offenses are also allowed to submit written questions to the presiding conduct officer

 to be asked of the complainants. ¶ 47(xii). The fact that students in disciplinary proceedings other

 than those in sexual misconduct cases have these rights indicates that, on balance, providing a

 hearing and right of cross-examination to Plaintiff, and other similarly-situated students, would




 the Committee and focus them on perceived inconsistencies in the complainant’s account (who did not participate).
 Id. at 22-23.


 15
   Defendants dismiss Plaintiff’s allegation that the investigators made credibility determinations as mere disagreement
 with those determinations. This is not only incorrect, but misses that Plaintiff’s purported disagreement with the
 investigators demonstrates the value that cross-examination would have in serious cases where significant student
 interests are at stake. Doe v. Ohio State U., 219 F. Supp. 3d 645, 657 (S.D. Ohio 2016), has no bearing on whether
 cross-examination is required when credibility is at issue, but concerns whether there was a clearly established right
 to a particular form of investigation for purposes of determining whether the defendants had qualified immunity.
 Moreover, in that case the plaintiff received a hearing and was permitted to cross-examine the complainant through
 the hearing panel. Id. at 658-660. In Plaintiff’s case here, the one-sided investigation was the purported “hearing.”

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 not have been burdensome to CU Boulder. Neal, 2017 WL 633045 at *19 (citing Brown v. U. of

 Kansas, 599 Fed. Appx. at 837).

        Defendants attempt to gloss over CU Boulder’s egregious deprivation of Plaintiff’s

 significant interests in his education and reputation, by denying him the right to cross-examination,

 by asserting that “nothing precluded Plaintiff from asking questions” during the course of the

 investigation. Moving Br. at 15. They then mischaracterize Plaintiff “as refusing to participate,”

 which—as alleged throughout the Complaint—is untrue. See Compl. ¶¶ 71-98. That Plaintiff’s

 counsel objected to the OIEC investigation has no bearing on whether or not procedures were in

 place through which Plaintiff could cross-examine Roe—they were not.

        While Defendants criticize Plaintiff for failing to ask questions during his meetings with

 investigators, they point to no policy provision or handout, and describe no conversation in which

 Plaintiff was notified that he had the right to submit questions to be asked of Jane Roe or any of

 the witnesses. Moreover, at this stage of the proceedings, the allegations of the Complaint must be

 taken as true and every reasonable inference drawn in Plaintiff’s favor. Compl. ¶ 177(iii). Per the

 plain language of the OIEC Procedures applied in Plaintiff’s case, “The OIEC follows an

 investigative model…[t]here are no formal hearings.” Id. ¶ 47(x).

            b. Plaintiff Had the Right to An Impartial Process

        Not only do the OIEC Procedures require that the University provide a “fair, impartial and

 equitable investigation and resolution of any complaint,” (Compl. ¶ 47(iv)), “the probative value

 of impartiality for avoiding erroneous decisions is unquestionably high; it is the bedrock for all

 procedures requisite to due process.” Neal, 2017 WL 633045 at *22. See Tonkovich v. Kansas Bd.

 of Regents, 159 F.3d 504, 518 (10th Cir. 1998) (“A fundamental principle of procedural due

 process is a hearing before an impartial tribunal.”).



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         Plaintiff alleges that Hasselbacher, the lead investigator, and Simons, who determined

 Plaintiff’s sanction and reviewed his appeal, were biased because each was involved in Title IX

 compliance and Simons was responsible for reporting sanction statistics to Chancellor DiStefano.

 Id. ¶¶ 59, 114-115, 123. Each was influenced by the pressure the University was under due to the

 OCR investigation and the University’s public stance against its perceived rape culture. Id. ¶¶ 32,

 35, 114-115, 123. Hasselbacher also took steps during the course of the investigation that were

 detrimental to Plaintiff, such as inter alia holding the Notice of Investigation until after Plaintiff’s

 BPD interview (Id. ¶¶ 64-67); issuing the written evidence summary before Plaintiff reviewed the

 investigation file (Id. ¶¶ 76-86); failing to take action against Roe when she gave the evidence

 summary she was told to keep in confidence to BPD (Id. ¶¶ 86. 88); permitting Roe to explain

 away inconsistencies in witness accounts (Id. ¶ 104 i.-ii.); and asking Roe to respond to Plaintiff’s

 version of the encounter rather than asking for her account of what happened (Id. ¶ 102). Plaintiff

 further alleges that “CU Boulder deprived Plaintiff of the requisite due process because the

 University had a pecuniary interest in the outcome of the adjudication…CU Boulder was under

 OCR investigation at the time…and potentially risked the loss of federal funding or other penalty

 if they found in favor of Plaintiff.” Id. ¶ 181. These allegations sufficiently raise a plausible

 inference that the decisionmakers responsible for the erroneous 18-month suspension against

 Plaintiff were biased. See Neal, 2017 WL 633045 at *22 (plaintiff’s allegations concerning

 university’s self-interest in its reputation and federal funding were facts that if true would be a

 “substantial showing” of bias); DiStefano, 2018 WL 2096347 at * 9.

         Defendants assert that Plaintiff fails to rebut the presumption that Simons was an impartial

 decisionmaker because he only alleges that Simons served as “Title IX Coordinator and

 sanctioner.” Moving Br. at 17. As set forth above and supra Point II.B.4, Plaintiff has alleged far



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 more than merely Simons’ occupation of dual roles, and his allegations are sufficient at the

 pleading stage. The two cases Defendants rely upon, Riggins v. Goodman, 572 F.3d 1101, 1112

 (10th Cir. 2009) and Hess v. Board of Trustees of Southern Illinois University, 839 F.3d 668, 675

 (7th Cir. 2016), are inapposite because they are summary judgment decisions. See DiStefano, 2018

 WL 2096437 at **9-10 (finding CU Boulder’s reliance on summary judgment opinions

 unpersuasive and finding that discovery was warranted on the issue of personal bias). Defendants’

 reliance on Doe v. Purdue, 281 F. Supp. 3d at 778-79, is misplaced because in Purdue the court

 addressed whether an administrator’s occupation of dual roles, standing alone, was enough to

 allege gender bias. In the context of a procedural due process claim, a plaintiff need not allege

 gender bias, or any bias on the basis of any other legally protected group or class of individuals,

 any type of actual bias is sufficient. DiStefano, 2018 WL 2096437 at **9-10.




           c.   Plaintiff Had the Right to An Impartial Review of the Finding

        Defendants contend that because, in their opinion, Plaintiff had no right to an appeal that

 it makes no difference that his appeal was reviewed by the same biased decisionmaker—Simons—

 who issued the unwarranted 18-month suspension. Moving Br. at 18. They further mischaracterize

 the Standing Review Committee—that was anonymous and spent less than one day reviewing

 Plaintiff’s case behind closed doors—as an “additional level of review” that was “not required”

 and about which Plaintiff has no right to complain. Id. Defendants rely on the oversimplified

 statement that due process requires “only notice an opportunity to be heard,” forgetting that what

 these elements entail depends on the seriousness of the private interest involved, as well as the

 circumstances of a particular case. Indeed, “‘the very nature of due process negates any concept



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 of inflexible procedures universally applicable to every imaginable situation.’” Neal, 2017 WL

 633045 at *19 (citing Bd. of Curators of U. of Missouri v. Horowitz, 435 U.S. 78, 85-86 (1978)).

         Defendants further ignore that the OIEC Procedures applied in Plaintiff’s case provided for

 review by the Standing Review Committee prior to the issuance of any sanction, thus bearing on

 Plaintiff’s opportunity to be heard before he was disciplined. Compl. ¶ 47 (xiv). The Committee

 members were to receive “appropriate training regarding implementation of the Process and

 Procedures.” Id. They were tasked with reviewing Hasselbacher’s and Walker’s investigation

 report for bias, thoroughness and sufficiency. Id. The Standing Review Committee reviewed and

 approved the investigation report on the same day. Id. Plaintiff was provided with no information

 about the Committee, nor did he have any opportunity to contest the finding or appear before the

 Committee. Id. ¶¶ 96-98. He also had no right to challenge the members because their identities

 were not disclosed. Id. Plaintiff further alleges that the Committee members were not adequately

 trained. Id. ¶ 98.

         Plaintiff alleges that his right to due process was violated by CU Boulder’s failure to

 provide him the right to an appeal when under the 2013-2014 Student Conduct Code—which

 should have been applied given that the encounter with Roe occurred in Spring 2014—provided

 the right to appeal “by a three-person Student Conduct Appeal Committee with broad authority to

 reverse the University’s finding and reduce any sanction.” Id. ¶ 46. The right to appeal was

 removed from the 2015-2016 OIEC Procedures applied in Plaintiff’s case. Id. ¶ 47.xvii. Simons

 elected to undertake an “administrative review” of Plaintiff’s case under the 2016-2017 OIEC

 Procedures. In making the choice to provide an additional level of review to Plaintiff’s case,

 Simons and CU Boulder should have ensured that said review was equitable and impartial rather

 than, as alleged in the Complaint, a sham review undertaken by the very person who suspended



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 Plaintiff. Id. ¶¶ 132-140. Under the OIEC Procedures, Simons had the option of designating

 someone else to review Plaintiff’s appeal letter. She did not. Id. ¶ 49. While it is true that university

 disciplinary proceedings need not mirror legal proceedings—whether civil or criminal—the

 review of a student’s appeal by the University’s Title IX Coordinator/OIEC Director, who reports

 sanctioning statistics to the Chancellor and decided the student’s sanction in the first instance is

 highly suspect.16 Such a procedure is akin to a trial court deciding a party’s appeal of its own

 decision. This method of review raises significant questions about the fundamental fairness of the

 process afforded to Plaintiff.




              d. Restricting Plaintiff’s Access to the Investigation File Impeded
                 Plaintiff’s Ability to Respond

         Defendants minimize Plaintiff’s claim that he was denied timely access to the investigation

 file as “failing to advance” his due process claim because he had opportunities to review and

 respond to the investigators’ subjective, written summary of the evidence on two occasions.

 Moving Br. at 14. At issue is not whether Plaintiff simply had an opportunity to be heard, but

 whether it was “at a meaningful time and in a meaningful manner.” Matthews v. Eldridge, 424

 U.S. 319, 333 (1976). Plaintiff alleges facts that support a plausible claim that the University

 denied him this right by restricting his access to the evidence gathered during the University’s

 investigation.

         Plaintiff alleges that OIEC delayed his review of the investigation file for approximately

 two weeks and until after the investigators issued their written evidence summary. Compl. ¶¶ 82-



 16
   Indeed, the OCR’s 2014 Q&A advises that Title IX Coordinators should not sit on hearing panels or review appeals.
 Id. at 11-12.

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 90. Plaintiff was finally permitted to review the evidence on the day after the deadline for

 submitting his response to the written evidence summary. Id. ¶ 90. Plaintiff’s review was limited

 to two hours and, at all times, an OIEC administrator was present so that Plaintiff was prevented

 from discussing the file with his attorney. Id. Plaintiff and his attorney were also prohibited from

 making copies of any documents in the file. Id. After the investigators issued an amended written

 evidence summary on May 2, 2016, Plaintiff was permitted to review the investigation file for an

 additional two hours under the same conditions. Id. ¶¶ 93-95. This review occurred on May 6,

 2016. Thus, Plaintiff had a total of four hours to review a file which contained the statements of

 “Jane Roe, Plaintiff, and ten other witnesses” (Moving Br. at 2; Compl. ¶¶ 101-104). He was

 denied any right of review prior to responding to the first written evidence summary and given

 only three days before the deadline to respond to the amended written evidence summary. Compl.

 ¶¶ 93-95. Accordingly, there is a serious question whether the University’s restriction of Plaintiff’s

 access to the evidence file deprived him of a meaningful opportunity to be heard.17

               e. Withholding the Notice of Investigation Impacted the
                  Outcome of Plaintiff’s Case                     ___

          As alleged by Plaintiff, the University investigators worked in tandem with BPD to deprive

 Plaintiff of the details of Roe’s account. Compl. ¶¶ 64, 67-68, 70, 107-108, 110. BPD provided

 Plaintiff with incorrect details about Roe’s allegations and Plaintiff appropriately responded to

 BPD’s questions. Subsequently, the University provided Plaintiff with a Notice of Investigation

 that gave him a date reference and description of the Spring 2014 allegation that excluded the false

 details previously provided by BPD. Id. ¶ 110. This refreshed Plaintiff’s recollection as to the



 17
   Defendants’ assertion that Plaintiff was not entitled to “discover every piece of evidence” that he desired is baseless.
 (Moving Br. at 14). Plaintiff has not alleged that he served discovery demands on the University and that the demands
 were denied, or that what was accessed was incomplete. Rather, as discussed supra Plaintiff was obstructed from a
 full review of the available evidence which deprived him of a meaningful opportunity to be heard.

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 details of what had occurred. Hassselbacher and Walker later discredited Plaintiff as unreliable

 because they believed that his answers to BPD differed from his answers to the investigators—

 ignoring that BPD gave Plaintiff a wholly different account of what had occurred than what was

 provided in the Notice of Investigation and that Plaintiff expressly informed the University’s

 investigators of that fact when he met with them. Id. ¶¶ 105-111. Thus, Defendants are incorrect

 in their assertion that the University’s failure to provide Plaintiff with a timely Notice of

 Investigation had no impact on whether he received adequate notice or had a meaningful

 opportunity to be heard. Moving Br. 13-15.

 IV.      Plaintiff’s Breach of Contract Claim Should Be Dismissed Without Prejudice

          Should the Court agree that Plaintiff’s state law breach of contract claim is barred by the

 Eleventh Amendment to the United States Constitution, then Plaintiff respectfully requests that

 the Court dismiss the claim without prejudice for lack of subject matter jurisdiction and because

 Defendants have asserted no arguments relevant to the merits of Plaintiff’s breach of contract

 claim.

                                           CONCLUSION

          For the reasons set forth above, Plaintiff respectfully requests that the Court deny

 Defendants’ motion to dismiss the Complaint, along with such other and further relief as the Court

 deems just and proper.

 Dated: December 6, 2018

                                               Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2018, I electronically filed the foregoing with the

 Court’s electronic filing system (CM/ECF) which will automatically cause notification to be sent

 to the following counsel of record:

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                                                            /s/ Andrew T. Miltenberg




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